            Case 17-04372-5-JNC                   Doc 1 Filed 09/06/17 Entered 09/06/17 11:21:43                                  Page 1 of 12

Fill in this information to identify your case:

United States Bankruptcy Court for the:

EASTERN DISTRICT OF NORTH CAROLINA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Black Sheep Food Group, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed          DBA Lugano's Ristorante
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  1951 Clark Ave.                                                 PO Box 10669
                                  Raleigh, NC 27605                                               Raleigh, NC 27605
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Wake                                                            Location of principal assets, if different from principal
                                  County                                                          place of business
                                                                                                  1060 Darrington Dr. Cary, NC 27513
                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       http://www.luganocary.com


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
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Debtor    Black Sheep Food Group, LLC                                                                  Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

                                          Chapter 11. Check all that apply:
                                                                 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                When                                  Case number
                                                  District                                When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                                    Relationship
                                                  District                                When                              Case number, if known




Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
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Debtor   Black Sheep Food Group, LLC                                                               Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Debtor    Black Sheep Food Group, LLC                                                              Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      September 6, 2017
                                                  MM / DD / YYYY


                             X   /s/ Thomas S. Havrish                                                    Thomas S. Havrish
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Manager




18. Signature of attorney    X   /s/ William F. Braziel III                                                Date September 6, 2017
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 William F. Braziel III
                                 Printed name

                                 Janvier Law Firm, PLLC
                                 Firm name

                                 311 East Edenton Street
                                 Raleigh, NC 27601
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     919-582-2323                  Email address


                                 39541
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
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 Fill in this information to identify the case:

 Debtor name         Black Sheep Food Group, LLC

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF NORTH CAROLINA

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          September 6, 2017                       X /s/ Thomas S. Havrish
                                                                       Signature of individual signing on behalf of debtor

                                                                       Thomas S. Havrish
                                                                       Printed name

                                                                       Manager
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:
 Debtor name Black Sheep Food Group, LLC
 United States Bankruptcy Court for the: EASTERN DISTRICT OF NORTH                                                                                    Check if this is an
                                                CAROLINA
 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Cap Call, LLC                                                   Business Loan                                       $97,037.49                        $0.00              $97,037.49
 Attn: Managing
 Agen
 122 East 42nd Street
 Suite 2112
 New York, NY 10168
 Headway Capital                                                 Business Loan                                                                                            $17,000.00
 Attn: Managing
 Agent
 175 W. Jackson
 Blvd.
 Chicago, IL 60604
 LG Funding,                                                                                                                                                              $40,000.00
 Services
 Attn: Managing
 Agent
 1218 Union St. Suite
 2
 Brooklyn, NY 11225
 NC Dept. of                                                     Sale Taxes                                                                                               $21,000.00
 Revenue
 Attn: Bankruptcy
 Unit
 PO Box 1168
 Raleigh, NC
 27602-1168
 Queen Funding, LLC                                                                                                  $32,123.90                        $0.00              $32,123.90
 Attn: Managing
 Agent
 2221 NE 164 St
 North Miami Beach,
 FL 33160




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    Black Sheep Food Group, LLC                                                                        Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Richmond Capital                                                                                                    $78,830.43                        $0.00              $78,830.43
 Group, LLC
 Attn: Managing
 Agent
 125 Maiden Lane
 Suite 501
 New York, NY 10038
 SOS Capital Inc.                                                                                                                                                         $68,138.81
 Attn: Managing
 Agent
 540 Madison Ave.
 New York, NY 10022
 Todd Hovenden                                                   Loan from                                                                                                $40,000.00
 Attn: Managing                                                  Purchase of
 Agent                                                           Business
 1705 Clearwater
 Ave.
 Bloomington, IL
 61704
 Wells Fargo Bank                                                Business Loan                                                                                              $8,000.00
 Attn: Officer
 PO Box 9210
 Des Moines, IA
 50306




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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                                                               United States Bankruptcy Court
                                                                     Eastern District of North Carolina
 In re      Black Sheep Food Group, LLC                                                                   Case No.
                                                                                     Debtor(s)            Chapter    11




                                               VERIFICATION OF CREDITOR MATRIX


I, the Manager of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to

the best of my knowledge.




 Date:       September 6, 2017                                            /s/ Thomas S. Havrish
                                                                          Thomas S. Havrish/Manager
                                                                          Signer/Title




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Alicia Havrish                         Capital One                       Ct Corporation Services
Attn: Managing Agent                   Attn: Managing Agent              Attn: Managing Agent
1432 Van Page Road                     PO Box 30285                      111 8th Ave 13th Fl
Raleigh, NC 27607                      Salt Lake City, UT 84130          New York, NY 10011


Alsco                                  Capital One                       East Coast Resources
Attn: Managing Agent                   Attn: Managing Agent              Attn: Managing Agent
3301 Hillsborough St.                  4851 Cox Road                     PO Box 1127
Raleigh, NC 27607                      Glen Allen, VA 23060              Fuquay-Varina, NC 27256


Ample Storage                          Capriflavors, Inc.                Easy Ice
Attn: Managing Agent                   Attn: Managing Agent              Attn: Managing Agent
120 James Jackson Ave.                 1012 Morrisville Parkway          926 W Washington St.
Cary, NC 27513                         Morrisville, NC 27560             Marquette, MI 49855


Ariel Bouskila                         Charles E. Potter                 Empire Cooler Service, Inc.
40 Exchange Place Ste 1306             Attn: Managing Agent              Attn: Managing Agent
New York, NY 10005                     3 Carolina Meadows #303           940 W. Chicago Ave.
                                       Chapel Hill, NC 27517             Chicago, IL 60642


Ashworth Family Limited Partnership    Charlie David Poindexter          First Electronic Bank
Attn: Managing Agent                   Attn: Managing Agent              Attn: Managing Agent
PO Box 98                              4109 Hawkins Ave.                 2150 South 1300 East Suite 400
Cary, NC 27512                         Sanford, NC 27330                 Salt Lake City, UT 84106


Auto-Chlor                             Chef Works                        Fish Window Cleaning
Attn: Managing Agent                   Attn: Managing Agent              Attn: Managing Agent
3428 Benchmark Drive                   12325 Kerran St.                  PO Box 170
Ladson, SC 29456                       Poway, CA 92064                   Morrisville, NC 27560


Bank of America                        Cintas Corporation                FSI Mechanical
Attn: Managing Agent                   Attn: Managing Agent              Attn: Managing Agent
PO Box 982238                          PO Box 630803                     6518-B Old Wake Forest Road
El Paso, TX 79998                      Cincinnati, OH 45263              Raleigh, NC 27616


Bank of America                        Cintas Corporation                Headway Capital
Attn: Managing Agent                   Attn: Managing Agent              Attn: Managing Agent
100 North Tryon St.                    1003 Twin Creeks Ct.              175 W. Jackson Blvd.
Charlotte, NC 28202                    Durham, NC 27703                  Chicago, IL 60604


Cap Call, LLC                          City Electric Supply              Inland Seafood
Attn: Managing Agen                    Attn: Managing Agent              Attn: Managing Agent
122 East 42nd Street Suite 2112        229 James Jackson Ave. Cary       PO Box 450669
New York, NY 10168                     Greensboro, NC 27416              Tucker, GA 30084
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Inland Seafood                       PER MAR Security Services         RTR Recovery
Attn: Managing Agent                 Attn: Managing Agent              Attn: Managing Agent
1651 Montreal Circle                 PO Box 1101                       122 East 42nd Street Suite 2112
Atlanta, GA 30084                    Davenport, IA 52805               New York, NY 10168


Internal Revenue Service             Performance Food Service          Sentry Watch, Inc.
Attn: Managing Agent                 Attn: Managing Agent              Attn: Managing Agent
PO Box 7346                          543 12th Street Drive NW          PO Box 10362
Philadelphia, PA 19101-7346          Hickory, NC 28603-2947            Greensboro, NC 27404


Israel Weinstein                     PFS Sales                         Simply Farm
68-15 Main Street, 1st Floor         Attn: Managing Agent              1655 Linville Creek Road
Flushing, NY 11367                   PO Box 33255                      Vilas, NC 28692
                                     Raleigh, NC 27636


Kabbage Loans                        Power Up Lending Group, Ltd       SOS Capital Inc.
Attn: Managing Agent                 Attn: RICHARD S. NAIDICH, ESQ.    Attn: Managing Agent
925B Peachtree Street NE             111 Great Neck Road Suite 214     540 Madison Ave.
Atlanta, GA 30309                    Great Neck, NY 11021              New York, NY 10022


LG Funding, Services                 Power Up Lending Group, Ltd       Thomas Havrish
Attn: Managing Agent                 Attn: Managing Agent              Attn: Managing Agent
1218 Union St. Suite 2               111 Great Neck Road Suite 216     1432 Van Page Blvd
Brooklyn, NY 11225                   Great Neck, NY 11021              Raleigh, NC 27607


Mary Lynn Fitgerald                  Prepress Solutions, Inc.          Todd Hovenden
Attn: Managing Agent                 Attn: Managing Agent              Attn: Managing Agent
105 Hilsdorf Ct.                     3205 Corsham Drive                1705 Clearwater Ave.
Cary, NC 27513                       Apex, NC 27539                    Bloomington, IL 61704


NC Dept. of Revenue                  Queen Funding, LLC                US Foods
Attn: Bankruptcy Unit                Attn: Managing Agent              Attn: Managing Agent
PO Box 1168                          2221 NE 164 St                    PO Box 602221
Raleigh, NC 27602-1168               North Miami Beach, FL 33160       Charlotte, NC 28260-2211


NU CO2, Inc.                         RI Preston Investors              US Foods, Inc.
Attn: Managing Agent                 Attn: Managing Agent              Attn: Managing Agent
PO Box 9011                          127 Trellingwood Dr.              1500 NC Highway 39
Stuart, FL 34995                     Morrisville, NC 27560             Zebulon, NC 27597


Paytronix                            Richmond Capital Group, LLC       VP Coffee
Attn: Managing Agent                 Attn: Managing Agent              Attn: Managing Agent
74 Bridge St. Suite 400              125 Maiden Lane Suite 501         117 S. Chatham Ave.
Newton Center, MA 02459              New York, NY 10038                Siler City, NC 27344
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Wake County Revenue Dept.                YES Funding Services, LLC
Amanda Bryant, Revenue Agent             Attn: Managing Agent
PO Box 2331                              122 E. 42nd St. Suite 2112
Raleigh, NC 27602                        New York, NY 10168


Wards Fruit and Produce, Inc.
Attn: Managing Agent
1109 Apriculture Street, Suite 3
Raleigh, NC 27603


Waste Industries
Attn: Managing Agent
PO Box 580027
Charlotte, NC 28258


Wells Fargo
Attn: Managing Agent
PO Box 6426
Carol Stream, IL 60197-6426


Wells Fargo Bank
Attn: Officer
PO Box 9210
Des Moines, IA 50306


Wells Fargo Bank
Attn: Managing Agent
101 N. Phillips Ave.
Sioux Falls, SD 57104


Yadkin Bank
Attn: Managing Agent
200 South 6th Street
Minneapolis, MN 55402


Yadkin Bank
Attn: Managing Agent
166 Main St.
Greenville, PA 16125


Yelp, Inc.
Attn: Managing Agent
140 New Montgomery
San Francisco, CA 94105
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                                                               United States Bankruptcy Court
                                                                     Eastern District of North Carolina
 In re      Black Sheep Food Group, LLC                                                                   Case No.
                                                                                     Debtor(s)            Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Black Sheep Food Group, LLC in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



    None [Check if applicable]




 September 6, 2017                                                      /s/ William F. Braziel III
 Date                                                                   William F. Braziel III 39541
                                                                        Signature of Attorney or Litigant
                                                                        Counsel for Black Sheep Food Group, LLC
                                                                        Janvier Law Firm, PLLC
                                                                        311 East Edenton Street
                                                                        Raleigh, NC 27601
                                                                        919-582-2323 Fax:866-809-2379




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